4:08-cr-03148-RGK-CRZ    Doc # 155   Filed: 03/17/09   Page 1 of 1 - Page ID # 348




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,             )
                                      )
       Plaintiff,                     )     4:08CR3148
                                      )
       v.                             )
                                      )
ROSE A. LAUTENSCHLAGER,               )       ORDER
                                      )
       Defendant.                     )



       IT IS ORDERED,

       The oral motion of counsel for defendant is granted and,

       The change of plea is continued to April 7, 2009 at 9:00
a.m.

     The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between today’s
date and the anticipated plea of guilty, shall be deemed
excludable time in any computation of time under the requirements
of the Speedy Trial Act, for the reason that defendant’s counsel
requires additional time to adequately prepare the case, taking
into consideration due diligence of counsel, the novelty and
complexity of the case, and the fact that the failure to grant
additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).

       The defendant shall be present at the hearing.

       Dated March 17, 2009.


                                     BY THE COURT


                                     s/   David L. Piester
                                     David L. Piester
                                     United States Magistrate Judge
